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   United States District Court                                                         6/5/2025
                                                                                         RYO




   Central District of California

   ACTIVISION PUBLISHING, INC., Plaintiff,


   v.


   RYAN J. ROTHHOLZ, Defendant.


   Case No. 2:25-cv-04075-SPG-BFM



   DECLARATION OF SERVICE

   I, Ryan J. Rothholz, declare as follows:


   1. I am the Defendant in this action, proceeding pro se.


   2. On June 5, 2025, I served the following documents on counsel for Plaintiff via email:


     • Defendant’s Motion to Dismiss for Lack of Personal Jurisdiction and Improper Venue

     • [Proposed] Order Granting Motion to Dismiss

     • Defendant’s Motion to Transfer Venue to the Southern District of New York

     • [Proposed] Order Granting Motion to Transfer Venue


   3. I sent the documents via email to Plaintiff’s counsel at the following address:

     [Insert Plaintiff's Attorney’s Email Address Here]
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   4. I declare under penalty of perjury under the laws of the United States that the

   foregoing is true and correct.




   Executed on June 5, 2025 in Nashville, Tennessee.




   ______________________________

   Ryan J. Rothholz
